        Case 1:22-cr-00207-WMR-LTW Document 21 Filed 07/12/22 Page 1 of 3




                     UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

UNITED STATES OF AMERICA       )
         Plaintiff             )
                               )
vs.                            )                CASE NO: 1:22-CR-207-WMR-LTW
                               )
                               )
DION HAYES,                    )
          Defendant.           )
_______________________________

              MOTION TO CONTINUE PRETRIAL CONFERENCE

      COMES NOW the defendant, Dion Hayes, by and through undersigned

counsel and moves to continue the pretrial conference and pretrial motions deadline

for a period of at least 30 days. In support thereof Mr. Hayes shows the following:

                                           1.

      This case is currently set for a pretrial conference on July 14, 2022.

                                           2.

      Undersigned counsel is requesting the pretrial conference be continued to

provide for adequate time to review discovery.

                                           3.

      Undersigned counsel has reached out to AUSA Erin Spritzer regarding this

request and she has indicated that she has no objection to a continuance.
       Case 1:22-cr-00207-WMR-LTW Document 21 Filed 07/12/22 Page 2 of 3




      Therefore, Mr. Hayes respectfully requests that this Motion for Continuance be

granted and that the Court exclude the period of the continuance from computation

under the Speedy Trial Act pursuant to 18 U.S.C. § 3161(7)(A).

                                                  Respectfully submitted,

                                                  s/Marissa Goldberg
                                                  MARISSA GOLDBERG
                                                  Georgia Bar No. 672698
                                                  The Findling Law Firm, P.C.
                                                  One Securities Centre
                                                  3490 Piedmont Road, Suite 600
                                                  Atlanta, Georgia 30305
                                                  Office (404) 460-4500
        Case 1:22-cr-00207-WMR-LTW Document 21 Filed 07/12/22 Page 3 of 3




                          CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing motion:

MOTION TO CONTINUE PRETRIAL CONFERENCE



Was served upon opposing counsel:

Assistant United States Attorney Erin Spritzer


By ECF Filing.



Dated: July 12, 2022



                                             s/Marissa Goldberg_________
                                             Marissa Goldberg
                                             Georgia Bar No. 672798
